         Case 1:17-cv-06221-KPF Document 317 Filed 06/24/20 Page 1 of 1



   quinn emanuel trial lawyers | new york




June 24, 2020

VIA ECF                                                MEMO ENDORSED
The Honorable Katherine Polk Failla
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:    Iowa Pub. Emps.’ Ret. Sys. et al. v. Bank of Am. Corp. et al., No. 17-cv-6221 (KPF)

Dear Judge Failla:

        Plaintiffs respectfully request leave for Plaintiffs and EquiLend to file under seal their
respective June 24, 2020 briefing and June 26, 2020 reply briefing in the dispute concerning
Plaintiffs’ Letter-Motion to Quash EquiLend’s Subpoenas. The Court ordered this briefing on
June 10, 2020. ECF No. 310. This request is made pursuant to this Court’s Individual Rules of
Practice, paragraph 9(C)(ii). EquiLend consents to this request.
         The Court has previously granted the parties’ requests to file under seal briefings and
materials related to Plaintiffs’ Letter-Motion to Quash. See ECF Nos. 301, 305, and 315.
Therefore, Plaintiffs respectfully request leave for Plaintiffs and EquiLend to file under seal as to
this related briefing.
Respectfully submitted,
/s/ Michael B. Eisenkraft                            /s/ Daniel L. Brockett
Michael B. Eisenkraft                                Daniel L. Brockett
COHEN MILSTEIN SELLERS & TOLL                        QUINN EMANUEL URQUHART &
PLLC                                                 SULLIVAN, LLP


  Application GRANTED.
                                                     SO ORDERED.
  Dated:          June 24, 2020
                  New York, New York



                                                     HON. KATHERINE POLK FAILLA
                                                     UNITED STATES DISTRICT JUDGE
